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                                   1 Lance A. Maningo
                                     MANINGO LAW
                                   2 Nevada Bar No. 6405
                                     400 South 4th Street, Suite 650
                                   3
                                     Las Vegas, Nevada 89101
                                   4 702.626.4646
                                     lance@maningolaw.com
                                   5 Attorney for Defendant
                                   6
                                                                 UNITED STATES DISTRICT COURT
                                   7
                                                                         DISTRICT OF NEVADA
                                   8
                                       THE UNITED STATES OF AMERICA,       )
                                   9
                                                                           )                 2:19-cr-00265-RFB-VCF
                                  10               Plaintiff,              )
                                                                           )                 (Second Request)
                                  11               vs.                     )
                                                                           )
                                  12
                                       DANIELLE ESPARZA,                   )
400 South 4th Street, Suite 650




                                  13                                       )
  Las Vegas, Nevada 89101
   www.maningolaw.com




                                                   Defendant.              )
                                  14   ____________________________________)
                                  15 Certification: This Stipulation and Order is being timely filed.
                                  16                      STIPULATION TO CONTINUE SENTENCING
                                  17
                                             IT IS HEREBY STIPULATED AND AGREED, by Defendant DANIELLE ESPARZA,
                                  18
                                       by and through her attorney, LANCE A. MANINGO, ESQ., and the United States of America,
                                  19
                                  20 by and through KEVIN SCHIFF, Assistant United States Attorney, that the sentencing hearing
                                  21 currently scheduled for January 14, 2021, at 11:00 a.m. be vacated and continued to a date and
                                  22 time convenient for this Court; however, in no event earlier than sixty (60) days from the
                                  23
                                       present date of sentencing.
                                  24
                                       This Stipulation is entered into for the following reasons:
                                  25
                                  26          1.      The parties agree to continue the sentencing date for purposes of co-defendant
                                                      Hurtado still pending plea;
                                  27
                                              2.      That Defendant ESPARZA is in custody and does not object to this
                                  28                  continuance;


                                                                                      1
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                                              3.    That denial of this request for a continuance could result in a miscarriage of
                                   1                justice; and

                                   2          4.    This is the second request for a continuance of the sentencing date in this case.
                                   3
                                             RESPECTFULLY SUBMITTED this 6th day of January, 2021.
                                   4
                                       By:   /s/ Lance Maningo                            By:     /s/ Kevin Schiff
                                   5         LANCE A. MANINGO, ESQ.                               KEVIN SCHIFF, AUSA
                                             Attorney for Defendant ESPARZA                       Attorney for Plaintiff
                                   6
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400 South 4th Street, Suite 650




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  Las Vegas, Nevada 89101
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                                                                   UNITED STATES DISTRICT COURT
                                   1
                                                                           DISTRICT OF NEVADA
                                   2
                                       THE UNITED STATES OF AMERICA,       )
                                   3
                                                                           )                  2:19-cr-00265-RFB-VCF
                                   4               Plaintiff,              )
                                                                           )                  (Second Request)
                                   5               vs.                     )
                                                                           )
                                   6
                                       DANIELLE ESPARZA,                   )
                                   7                                       )
                                                   Defendant.              )
                                   8   ____________________________________)
                                   9
                                                                           FINDINGS OF FACTS
                                  10
                                               Based upon the pending Stipulation of the parties, and good cause appearing therefore,
                                  11
                                       the Court finds that:
                                  12
400 South 4th Street, Suite 650




                                  13           This Stipulation is entered into for the following reasons:
  Las Vegas, Nevada 89101
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                                  14            1.      The parties agree to continue the sentencing date for purposes of co-defendant
                                                        Hurtado still pending plea;
                                  15
                                  16            2.      That Defendant ESPARZA is in custody and does not object to this
                                                        continuance;
                                  17
                                                3.      That denial of this request for a continuance could result in a miscarriage of
                                  18                    justice; and
                                  19
                                                4.      This is the second request for a continuance of the sentencing date in this case.
                                  20
                                                                         CONCLUSIONS OF LAW
                                  21
                                                The ends of justice served by granting said continuance outweigh the best interests of
                                  22
                                  23 the public and the defendant, since the failure to grant said continuance would be likely to
                                  24 result in a miscarriage of justice.
                                  25 / / / /
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                                                                           ORDER
                                   1
                                   2         IT IS THEREFORE ORDERED that sentencing in this matter currently scheduled for

                                   3 January 14, 2021 at 11:00 a.m. be vacated and continued to __________________
                                                                                                 March 18, 2021    at
                                   4 __________
                                     9:00 AM in the above-noted Court.
                                   5
                                          DATED this _____
                                                      11th day of January, 2021.
                                   6
                                   7
                                                                        ____________________________________________
                                   8                                    RICHARD F. BOULWARE, II
                                   9                                    UNITED STATES DISTRICT JUDGE

                                  10
                                  11 Respectfully submitted by:
                                  12
400 South 4th Street, Suite 650




                                  13
  Las Vegas, Nevada 89101
   www.maningolaw.com




                                  14 By:       /s/ Lance Maningo
                                             Lance A. Maningo
                                  15         Nevada Bar No. 6405
                                             400 South 4th Street, Suite 650
                                  16
                                             Las Vegas, Nevada 89101
                                  17         Attorney for Defendant ESPARZA

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